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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

NINGDE AMPEREX TECHNOLOGY                        §
LIMITED,                                         §
                                                 §
               Plaintiff,                        §
                                                 §
v.                                               §   CIVIL ACTION NO. 2:22-CV-00232-JRG
  .                                              §
ZHUHAI COSMX BATTERY CO., LTD.,                  §
                                                 §
               Defendant.                        §

                                           ORDER
       The Court issues this Order sua sponte. The Markman hearing in this case currently set

for August 15, 2023 at 9:00 a.m. is hereby moved to August 15, 2023 at 1:30 p.m. CT. Only the

time is changed. All other deadlines previously set by the Court remain the same.

       So ORDERED and SIGNED this 10th day of July, 2023.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE
